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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ROBERT BRESLOW and MONICA BRESLOW,                         C.A. NO. 18-908-RGA

       Plaintiffs,

                          V.                               JURY TRIAL DEMANDED

JOHN H. KLEIN and BARRY A. POSNER,

       Defendants.


            STIPULATED JUDGMENT AGAINST DEFENDANT BARRY A. POSNER

       Plaintiffs Robert Breslow and Monica Breslow (the "Breslows"), by and through their

undersigned counsel, and Defendant Barry A. Posner ("Posner"), by and through his undersigned

counsel, hereby stipulate and agree to the following judgment against Posner:

       1.      The Breslows and Posner have entered into a confidential settlement and release

agreement pursuant to which they have resolved all claims and causes of action that the Breslows

asserted in this lawsuit against Posner (the " Claims").

       2.      As part of this settlement, Posner stipulates to the entry of judgment in favor of

the Breslows and against him with respect to all Claims in the amount of $200,000.

       3.      The Breslows and Posner shall separately bear their own respective costs,

expenses, and attorneys' fees arising from this lawsuit.

       4.      All claims and causes of action that the Breslows have asserted in this lawsuit

against John H. Klein remain pending.
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        Dated: March 13, 2019

        RICHARDS , LAYTON & FINGER, P.A.                 MORRIS, NICHOLS , ARSHT & TUNNELL LLP


        Isl Matthew D. Perri                         Isl Kenneth J Nachbar
        Lisa A. Schmidt (#3019)                      Kenneth J. Nachbar (#2067)
        Jeffrey L. Moyer (#3309)                     Alexandra M. Cumings (#6146)
        Matthew D. Perri (#6066)                     1201 N. Market Street
        920 North King Street                        P.O. Box 1347
        Wilmington, DE 19801                         Wilmington, DE 19899-134 7
        (302) 651-7700                               (302) 658-9200
        schmid t@rlf.com                             knachbar@mnat.com
        moyer@rlf.com                                acumings@mnat.com
        perri@rIf. com
                                                     Attorneys for Defendant Barry A. Posner
        Attorneys for Plaintiffs Robert Breslow
        and Monica Breslow


                                     IT IS SO ORDERED, this   _lc?
                                                                 ,___ day of March, 2019




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